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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


  ELVY WOODARD, WILLIAM ADAMS               )
  a/k/a GORDON KEITH, ALAN MICHAEL          )
  ROGERS and RIPPLES AND WAVES;             )
                                            )
                    Plaintiffs,             )
                                            )
        v.                                  )
                                            )
  MICHAEL JACKSON, TITO JACKSON,            )
  MARLON JACKSON, JACKIE                    )
  JACKSON, JERMAINE JACKSON,                )    CASE NO. 1:03-cv-0844-DFH
  JOSEPH JACKSON, THE JACKSON               )
  FIVE, UNIVERSAL MUSIC GROUP, a            )
  California corporation, as successor      )
  in interest to MOTOWN RECORD              )
  CORPORATION, a dissolved Michigan         )
  Corporation, and MOTOWN RECORD            )
  CORPORATION OF CALIFORNIA, INC.,          )
  a dissolved California corporation, and   )
  DOES 1 THROUGH 100, inclusive,            )
                                            )
                    Defendants.             )


                    JUDGMENT AWARDING ATTORNEY FEES


        The court having this day granted the attorney fee petitions filed by

  plaintiffs, it is hereby ORDERED, ADJUDGED, AND DECREED that plaintiffs’

  attorney Norman Reed recover from defendants Tito Jackson, Marlon Jackson,

  Jermaine Jackson, and Jackie Jackson, jointly and severally, the sum of Three

  Thousand Five Hundred Thirty Dollars ($3,530.00), and that plaintiffs’ counsel

  Gerald Roberts recover from defendants Tito Jackson, Marlon Jackson, Jermaine
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  Jackson, and Jackie Jackson, jointly and severally, the sum of Eleven Hundred

  Twenty Dollars ($1,120.00).



  Date: November 10, 2005
                                             DAVID F. HAMILTON, JUDGE
                                             United States District Court
                                             Southern District of Indiana

  Laura
  Laura Briggs, Clerk
        A. Briggs, Clerk
  United States District Court
  BY: ______________________________
        Deputy
  By: Deputy    Clerk, U.S. District Court
             Clerk




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